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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 GIDEON RAPAPORT,
                               Plaintiff,

                        -against-                               23-CV-6709 (JGLC)

 JOHN DOE, et al.,                                              ORDER

                               Defendants.



JESSICA G. L. CLARKE, United States District Judge:

       Plaintiff Gideon Rapaport (“Plaintiff”) brings claims against Defendants “John Doe

#1,” “John Doe #2” and “John Doe #3” (collectively, “Defendants”) for defamation,

defamation per se, invasion of privacy and false light and intentional infliction of emotional

distress. ECF No. 1 (“Compl.”). Plaintiff seeks to serve third-party subpoenas on Steven

Goldblatt, Director of Human Resources of Kirkland & Ellis LLP; Kirkland & Ellis LLP; Lee

Liberman Otis, Senior Vice President and Faculty Director of The Federalist Society for Law

and Public Policy Studies; and The Federalist Society for Law and Public Policy Studies, so

that Plaintiff can learn Defendants’ identities and effectuate service. ECF No. 11 (“Pl.

Mem.”); see also ECF Nos. 13–20. Plaintiff also seeks to serve a third-party subpoena on

Richard Allen Epstein to perpetuate testimony and preserve evidence. ECF No. 10. For the

reasons herein, Plaintiff’s motion at ECF No. 11 is GRANTED in part and Plaintiff’s motion

at ECF No. 10 is DENIED.

       Although parties are normally required to meet and confer prior to beginning any

discovery, a court may waive this requirement by order. Fed. R. Civ. P. 26(d). Courts in this

district apply a “flexible standard of reasonableness and good cause” in determining whether

to permit a party to seek expedited discovery. Ayyash v. Bank Al-Madina, 233 F.R.D. 325,
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327 (S.D.N.Y. 2005); see also Valentin v. Dinkins, 121 F.3d 72, 75–76 (2d Cir. 1997) (finding

that a pro se litigant is entitled to assistance from the district court in identifying unidentified

defendants). The principal factors courts consider when determining whether expedited

discovery is appropriate include: (1) the plaintiff’s showing of a prima facie claim of

actionable harm, (2) the specificity of the discovery request, (3) the absence of alternative

means to obtaining the subpoenaed information, (4) the need for the subpoenaed information

to advance the claim and (5) the defendant’s expectation of privacy. Arista Records, LLC v.

Doe 3, 604 F.3d 110, 119 (2d Cir. 2010); see also Zemskova v. Does 1-10, No. 21-CV-8393

(MKV), 2022 WL 103571 (S.D.N.Y. Jan. 11, 2022) (applying the Arista standard to a claim

bringing a cause of action for defamation).

        The Court first analyzes the subpoenas requested in ECF No. 11. First, Plaintiff brings

four causes of action in the Complaint: defamation and defamation by implication under New

York law, defamation per se under New York law, invasion of privacy/false light under New

Jersey law and intentional infliction of emotional distress. Without ruling on the merits or

sufficiency of the allegations, the Court finds for present purposes that this is sufficiently

concrete to establish a prima facie claim of actionable harm on this motion for expedited

discovery.

        Second, the discovery requests, however, are not sufficiently narrowly tailored. Cf.

Strike 3 Holdings, LLC v. Doe, No. 23-CV-3190 (JGLC), 2023 WL 5092251, at *1 (S.D.N.Y.

Aug. 9, 2023) (granting expedited discovery request that was limited to the name and address

of the subscriber associated with the target IP address); Zemskova, 2022 WL 103571, at *2

(granting expedited discovery to identify the name and address associated with the registrant

of the at-issue website). The requests broadly seek video footage from a two-week period and

all emails, documents or other correspondence containing the allegedly defamatory


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statements, among other requests. At this time, Plaintiff may only seek information that is

necessary to identify and serve Defendants.

       Third, Plaintiff has represented that he is not able to identify the John Doe Defendants

through other means. See Pl. Mem. at 6. This factor weighs in favor of expedited discovery.

       Fourth, Plaintiff has adequately asserted that without the requested subpoena, he will

be unable to serve Defendants and unable to pursue further litigation. Id. “Ascertaining the

identities and residences of the Doe defendants is critical to plaintiffs’ ability to pursue

litigation, for without this information, plaintiffs will be unable to serve process.” Sony Music

Ent. Inc. v. Does 1-40, 326 F. Supp. 2d 556, 566 (S.D.N.Y. 2004).

       Fifth, the Court finds that Plaintiff’s interest in learning Defendants names outweighs

the privacy interest Defendants may have in withholding their names from Plaintiff. See

Zemskova, 2022 WL 103571, at *2. Once served, Defendants may appear and oppose this

lawsuit.

       Upon balancing the factors, the Court finds that Plaintiff has demonstrated good cause

for expedited discovery limited solely to the identification of Defendants in this action. See

adMarketplace, Inc. v. Tee Support, Inc., No. 13-CV5635 LGS, 2013 WL 4838854, at *2

(S.D.N.Y. Sept. 11, 2013) (“Plaintiff, who has a potentially meritorious claim and no ability to

enforce it absent expedited discovery, has demonstrated good cause for expedited discovery

upon the five parties identified in their motion.”).

       As such, the Court GRANTS Plaintiff’s motion for leave to serve third-party

subpoenas to Steven Goldblatt, Kirkland & Ellis LLP, Lee Liberman Otis and The Federalist

Society for Law and Public Policy Studies, with the following modification to ensure that the

subpoenas are narrowly tailored to provide only the information necessary to identify and

serve Defendants. Plaintiff may subpoena the third parties for documents only using the


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language he proposed: “Any and all reports, documents or electronically stored information

that may provide the identity or identifying information of the Doe defendants of this case

whether or not the result of any investigation.” Plaintiff must include a copy of this Order with

the subpoena.

       Regarding the subpoena requested in ECF No. 10, the expedited discovery request is

not tailored to obtain Defendants’ identities. Plaintiff has also not established that he would be

unable to receive the requested information at another point in the litigation such that

expedited discovery is proper here. Accordingly, Plaintiff’s motion for expedited discovery as

to Richard Allen Epstein is DENIED.

       It is ORDERED that any information ultimately disclosed to Plaintiff in response to a

Rule 45 subpoena may be used solely for the purpose of protecting Plaintiff’s rights as set

forth in the Complaint.

       It is further ORDERED that Plaintiff’s time to serve the summons and Complaint on

Defendants is extended to 45 days after Plaintiff receives the information from the third

parties pursuant to the subpoenas. It is further ORDERED that the initial pretrial conference,

scheduled for February 15, 2024, is adjourned sine die.

       The Clerk of Court is respectfully directed to terminate ECF No. 10.

Dated: January 2, 2024January 2, 2024
       New York, New York

                                                           SO ORDERED.




                                                           JESSICA G. L. CLARKE
                                                           United States District Judge




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